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                      Exhibit 31
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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J., by her next friend and mother, HEATHER
 JACKSON,

                               Plaintiff,

                vs.

 WEST       VIRGINIA      STATE     BOARD        OF
 EDUCATION; HARRISON COUNTY BOARD OF                             Case No. 2:21-cv-00316
 EDUCATION; WEST VIRGINIA SECONDARY
 SCHOOLS ACTIVITIES COMMISSION; W.                              Hon. Joseph R. Goodwin
 CLAYTON BURCH, in his official capacity as State
 Superintendent, DORA STUTLER, in her official
 capacity as the Harrison County Superintendent, and
 the STATE OF WEST VIRGINIA,

                               Defendants,

                and

 LAINEY ARMISTEAD,

                               Defendant-Intervenor.


              DECLARATION OF DR. CHAD T. CARLSON, M.D., FACSM

       I, Dr. Chad T. Carlson, pursuant to 28 U.S. Code § 1746, declare under penalty of

perjury under the laws of the United States of America that the facts contained in my Expert

Report of Dr. Chad T. Carlson, M.D., FACM prepared for B.P.J. v. West Virginia, attached

hereto, are true and correct to the best of my knowledge and belief, and that the opinions

expressed therein represent my own expert opinions.

       Executed on February 23, 2022.


                                                            Chad T. Carlson, MD




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          Expert Report of Dr. Chad Thomas Carlson, M.D., FACM
                   prepared for B.P.J. v. West Virginia
                            February 23, 2022




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                                     INTRODUCTION

         Up to the present, the great majority of news, debate, and even

  scholarship about transgender participation in female athletics has focused on

  track and field events and athletes, and the debate has largely concerned

  questions of fairness and inclusion. However, the transgender eligibility policies

  of many high school athletic associations in the United States apply with equal

  force to all sports, including sports in which players frequently collide with each

  other, or can be forcefully struck by balls or equipment such as hockey or

  lacrosse sticks. And in fact, biologically male transgender athletes have

  competed in a wide range of high school, collegiate, and professional girls’ or

  women’s sports, including, at least, basketball, 1 soccer, 2 volleyball, 3 softball, 4

  lacrosse,5 and even women’s tackle football.6



  1https://www.espn.com/espnw/athletes-life/story/_/id/10170842/espnw-gabrielle-ludwig-52-

  year-old-transgender-women-college-basketball-player-enjoying-best-year-life (accessed
  2/17/22)
  2https://www.unionleader.com/news/education/nh-bill-limits-women-s-sports-to-girls-born-

  female/article_d1998ea1-a1b9-5ba4-a48d-51a2aa01b910.html;
  https://www.outsports.com/2020/1/17/21069390/womens-soccer-mara-gomez-transgender-
  player-argentina-primera-division-villa-san-marcos (accessed 6/20/21)
  3https://news.ucsc.edu/2016/09/challenging-assumptions.html (accessed 6/20/21);

  https://www.outsports.com/2017/3/20/14987924/trans-athlete-volleyball-tia-thompson (accessed
  6/20/21)
  4https://www.foxnews.com/us/californias-transgender-law-allows-male-high-schooler-to-make-

  girls-softball-team (accessed 6/20/21)
  5https://savewomenssports.com/f/emilys-story?blogcategory=Our+Stories (accessed 6/20/21)


  6https://www.outsports.com/2017/12/13/16748322/britney-stinson-trans-football-baseball

  (accessed 6/20/21); https://www.mprnews.org/story/2018/12/22/transgender-football-player-
  prevails-in-lawsuit (accessed 6/20/21)


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        The science of sex-specific differences in physiology, intersecting with the

  physics of sports injury, leaves little doubt that participation by biological males

  in these types of girls’ or women’s sports, based on gender identity, creates

  significant additional risk of injury for the biologically female participants

  competing alongside these transgender athletes.

        In 2020, after an extensive review of the scientific literature, consultation

  with experts, and modeling of expected injuries, World Rugby published revised

  rules governing transgender participation, along with a detailed explanation of

  how the new policy was supported by current evidence. World Rugby concluded

  that “there is currently no basis with which safety and fairness can be assured

  to biologically female rugby players should they encounter contact situations

  with players whose biological male advantages persist to a large degree,” and

  that after puberty, “the lowering of testosterone removes only a small proportion

  of the documented biological differences.” Hence, World Rugby concluded that

  biological men should not compete in women’s rugby. (World Rugby

  Transgender Women Guidelines 2020.) World Rugby has been criticized by some

  for its new guidelines, but those criticisms have often avoided discussions of

  medical science entirely, or have asserted that modeling scenarios can overstate

  true risk. What cannot be denied, however, is that World Rugby’s approach is

  evidence-based, and rooted in concern for athlete safety. As a medical doctor

  who has spent my career in sports medicine, it is my opinion that World Rugby’s

  assessment of the evidence is scientifically sound, and that injury modeling


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  meaningfully predicts that biologically male transgender athletes do constitute

  a safety risk for the biologically female athlete in women’s sports.

        In a similar vein, in 2021, the UK Sports Councils’ Equality Group

  released new guidance for transgender inclusion in organized sports. This

  guidance was formulated after extensive conversations with stakeholders, a

  review of scientific findings related to transgender athletes in sport through

  early 2021, and an assessment of the use by some sport national governing

  bodies of case-by-case assessment to determine eligibility. Noteworthy within

  these stakeholder consultations was a lack of consensus on any workable

  solution, as well as concerns related to athlete safety and “adherence to rules

  which give sport validity.” The Literature Review accompanying the guidance

  document further noted that “[t]here are significant differences between the

  sexes which render direct competition between males and females . . . unsafe in

  sports which allow physical contact and collisions.” (UK Sports Councils’

  Equality Group Literature Review 2021 at 1.) Their review of the science “made

  clear that there are retained differences in strength, stamina and physique

  between the average woman compared with the average transgender

  woman….with or without testosterone suppression.” (UK Sports Councils’

  Equality Group Guidance at 3.) This was also reflected in their ten guiding

  principles, stating that physical differences between the sexes will “impact

  safety parameters in sports which are combat, collision or contact in nature.”

  (UK Sports Councils’ Equality Group Guidance 2021 at 7.) Ultimately, UK Sport


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  concluded that the full inclusion of transgender athletes in women’s sports

  “cannot be reconciled within the current structure of sport,” stating that “the

  inclusion of transgender people into female sport cannot be balanced regarding

  transgender inclusion, fairness and safety in gender-affected sport where there

  is meaningful competition . . . . due to retained differences in strength, stamina

  and physique between the average woman compared with the average

  transgender woman…, with or without testosterone suppression.” (UK Sports

  Councils’ Equality Group Guidance 2021 at 6.) Finally, UK Sport affirmed the

  use of sex categorization in sport, along with age and disability, as important

  for the maintenance of safety and fairness. (UK Sports Councils’ Equality Group

  Guidance 2021 at 7-8.)

        Unfortunately, apart from World Rugby’s careful review and the recent

  release of UK Sports Councils’ guidance, the public discourse is lacking any

  careful consideration of the question of safety. As a physician who has spent my

  career caring for athletes, I find this silence about safety both surprising and

  concerning. It is my hope through this white paper to equip and motivate sports

  leagues and policy makers to give adequate attention to the issue of safety for

  female athletes when transgender policies are being considered. I first explain

  the nature and causes of common sports injuries. I then review physiological

  differences between male and female bodies that affect the risk and severity of

  injuries to females when biological males compete in the female category, and




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   explain why testosterone suppression does not eliminate these heightened risks

   to females. Finally, I explain certain conclusions about those risks.


                                   CREDENTIALS

           1.   I am a medical doctor practicing Sports Medicine, maintaining an

   active clinical practice at Stadia Sports Medicine in West Des Moines, Iowa. I

   received my M.D. from the University of Nebraska College of Medicine in 1994

   and completed a residency in family medicine at the University of Michigan in

   1997.

           2.   Following my time in Ann Arbor, I matched to a fellowship in

   Sports Medicine at Ball Memorial Hospital in Muncie, Indiana, training from

   1997 to 1999, with clinical time split between Central Indiana Orthopedics, the

   Ball State Human Performance Laboratory, and the Ball State University

   training room. I received my board certification in Sports Medicine in 1999,

   which I continue to hold. Since residency training, my practice has focused on

   Sports Medicine–the treatment and prevention of injuries related to sport and

   physical activity.

           3.   Since 1997, I have served in several clinical practices and settings

   as a treating physician, including time as team physician for both the University

   of Illinois and Ball State University, where I provided care to athletes in several

   sports, including football, ice hockey, basketball, field hockey, softball,

   gymnastics, soccer, and volleyball. In the course of my career, I have provided

   coverage for NCAA Power Five Conference championships and NCAA National

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   Championship events in basketball, field hockey and gymnastics, among other

   sports, as well as provided coverage for national championship events for U.S.A.

   gymnastics, and U.S. Swimming and Diving. I have also covered professional

   soccer in Des Moines.

         4.     Since 2006, I have been the physician owner of Stadia Sports

   Medicine in West Des Moines, Iowa. My practice focuses on treatment of sports

   and activity-related injury, including concussive injury, as well as problems

   related to the physiology of sport.

         5.     I have served in and provided leadership for several professional

   organizations over the course of my career. In 2004, I was designated a Fellow

   of the American College of Sports Medicine (ACSM). I have served on ACSM’s

   Health and Science Policy Committee since 2010, and for a time chaired their

   Clinical Medicine Subcommittee. From 2009 to 2013, I served two elected terms

   on the Board of Directors of the American Medical Society for Sports Medicine

   (AMSSM), and during that time served as Chair of that body’s Practice and

   Policy Committee. I was subsequently elected to a four-year term on AMSSM’s

   executive committee in 2017, and from 2019-20, I served as AMSSM’s President.

   AMSSM is the largest organization of sports medicine physicians in the world.

   I gained fellowship status through AMSSM in 2020–my first year of eligibility.

   My work for ACSM and AMSSM has brought with it extensive experience in

   public policy as relates to Sports Medicine.




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         6.     In 2020, I was named as AMSSM’s first board delegate to the

   newly-constituted Physical Activity Alliance. I am a named member of an NCAA

   advisory group on COVID-19, through which I provided input regarding the

   cancellation of the basketball tournament in 2020. I also serve as a member of

   the Iowa Medical Society’s Sports Medicine Subcommittee and have been asked

   to serve on the Iowa High School Athletic Association’s newly-forming Sports

   Medicine Advisory Committee.

         7.     I have served as a manuscript reviewer for organizational policy

   pronouncements, and for several professional publications, most recently a

   sports medicine board review book just published in 2021. I have published

   several articles on topics related to musculoskeletal injuries in sports and

   rehabilitation, which have been published in peer-reviewed journals such as

   Clinical Journal of Sports Medicine, British Journal of Sports Medicine, Current

   Reviews in Musculoskeletal Medicine, Athletic Therapy Today, and the Journal

   of Athletic Training. In conjunction with my work in policy advocacy, I have

   helped write several pieces of legislation, including the initial draft of what

   became the Sports Medicine Licensure Clarity Act, signed into law by President

   Trump in 2018, which eases the restrictions on certain practitioners to provide

   health services to athletes and athletic teams outside of the practitioner’s home

   state. A list of my publications over the past ten (10) years is included as an

   appendix to this report.




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          8.      In the past four years, I have not testified as an expert witness in

   a deposition or at trial.

          9.      I am being compensated for my services as an expert witness in

   this case at the rates of $650 per hour for consultation, $800 per hour for

   deposition testimony, and $3,500 per half-day of trial testimony.


   I.     OVERVIEW

          10.     In this statement, I offer information and my own professional

   opinion on the potential for increased injury risk to females in sports when they

   compete against biologically male transgender athletes.7 At many points in this

   statement, I provide citations to published, peer-reviewed articles that provide

   relevant and supporting information to the points I make.

          11.     The principal conclusions that I set out in this white paper are as

   follows:

                  a. Government and sporting organizations have historically
                  considered the preservation of athlete safety as one component of
                  competitive equity.

                  b. Injury in sport is somewhat predictable based on modeling
                  assumptions that take into account relevant internal and external
                  risk factors.



   7 In the body of this paper, I use the terms “male” and “female” according to their ordinary

   medical meaning–that is to say, to refer to the two biological sexes. I also use the word “man”
   to refer to a biologically male human, and “woman” to refer to a biologically female human. In
   the context of this opinion, I include in these categories non-syndromic, biologically-normal
   males and females who identify as a member of the opposite sex, including those who use
   endogenous hormone suppression to alter their body habitus. In contexts that are not focused
   on questions of biology and physiology, terms of gender are sometimes used to refer to
   subjective identities rather than to biological categories – something I avoid for purposes of a
   paper focused on sports science


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                   c. Males exhibit large average advantages in size, weight, and
                   physical capacity over females—often falling far outside female
                   ranges. Even before puberty, males have a performance advantage
                   over females in most athletic events. Failure to preserve protected
                   female-only categories in contact sports (broadly defined) will
                   ultimately increase both the frequency and severity of injury
                   suffered by female athletes who share playing space with these
                   males.

                   d. Current research supports the conclusion that suppression of
                   testosterone levels by males who have already begun puberty will
                   not fully reverse the effects of testosterone on skeletal size,
                   strength, or muscle hypertrophy, leading to persistence of sex-
                   based differences in power, speed, and force-generating capacity.

           12.     In this white paper, I use the term “contact sports” to refer broadly

   to all sports in which collisions between players, or collisions between equipment

   such as a stick or ball and the body of a player, occur with some frequency

   (whether or not permitted by the rules of the game), and are well recognized in

   the field of sports medicine as causes of sport-related injuries.8 The 1975 Title

   IX implementing regulations (34 CFR § 106.41) say that “for purposes of this

   [regulation] contact sports include boxing, wrestling, rugby, ice hockey, football,

   basketball, and other sports the purpose or major activity of which involves

   bodily contact.” Certainly, all of the sports specifically named in the regulation

   fall within my definition of “contact sport.” Mixed martial arts, field hockey

   (Barboza 2018), soccer (Kuczinski 2018), rugby (Viviers 2018), lacrosse




   8 It is common to see, within the medical literature, reference to distinctions between “contact”

   and “collision” sports. For purposes of clarity, I have combined these terms, since in the
   context of injury risk modeling, there is no practical distinction between them.


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   (Pierpoint 2019), volleyball,9 baseball, and softball also involve collisions that

   can and do result in injuries, and so also fall within my definition.


   II.    A BRIEF HISTORY OF THE RATIONALE FOR SEPARATION OF
          SPORT BY SEX

          13.     World Rugby is correct when it notes that “the women’s category

   exists to ensure protection, safety, and equality” for women. (World Rugby

   Transgender Women Guidelines 2020.) To some extent, those in charge of sport

   governing bodies in the modern era have always recognized the importance of

   grouping athletes together based on physical attributes, in order to ensure both

   safety and competitive balance. Weight classifications have existed in wrestling

   since it reappeared as an Olympic event in 1904. Women and men have

   participated in separate categories since the advent of intercollegiate sporting

   clubs early in the 20th century. When Title IX went into effect in 1975, there

   were just under 300,000 female high school athletes, and fewer than 10,000

   female collegiate athletes. With the changes that resulted from Title IX, it was

   assumed that newly-available funds for women in sport would ensure the

   maintenance of existing, or creation of new, sex-segregated athletic teams that

   would foster greater participation by women. This has been borne out

   subsequently; by the first half of the 1980’s these numbers had risen to 1.9

   million and nearly 100,000 respectively. (Hult 1989.)


   9 See https://www.latimes.com/sports/story/2020-12-08/stanford-volleyball-hayley-hodson-

   concussions-cte-lawsuit, and https://volleyballmag.com/corinneatchison/ (both accessed
   6/20/21).


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          14.    The rationale for ongoing “separate but equal” status when it came

   to sex-segregated sports was made clear within the language of the original

   implementing regulations of Title IX , which, acknowledging real, biologically-

   driven differences between the sexes, created carve-out exceptions authorizing

   sex-separation of sport for reasons rooted in the maintenance of competitive

   equity. Importantly, the effect of these innate sex-based differences on the

   health and safety of the athlete were acknowledged by the express authorization

   of sex-separated teams for sports with higher perceived injury risk—i.e.,

   “contact sports.” (Coleman 2020.)

          15.    In the almost half century since those regulations were adopted,

   the persistent reality of sex-determined differences in athletic performance and

   safety has been recognized by the ongoing and nearly universal segregation of

   men’s and women’s teams–even those that are not classically defined as being

   part of a contact or collision sport.

          16.    Now, however, many schools and sports leagues in this country are

   permitting males to compete in female athletics—including in contact sports—

   based on gender identity. In my view, these policies have been adopted without

   careful analysis of safety implications. Other researchers and clinicians have

   addressed questions of the negative impact of such policies on fairness, or

   equality of athletic experiences for girls and women, in published articles, and

   in court submissions. One recent review of track and field performances,

   including sprints, distance races and field events, noted that men surpass the


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   top female performance in each category between 1000 and 10,000 times each

   year, with hundreds or thousands of men beating the top women in each event.

   (Coleman & Shreve.) Although this was not their primary focus, World Rugby

   well-summarized the point when it observed that in a ranking list of the top

   thousand performances in most sports, every year, every one will have been

   achieved by a biological male. (World Rugby Transgender Women Guidelines

   2020.) Although most easily documented in athletes who have gone through

   puberty, these differences are not exclusively limited to post-pubescent athletes

   either.

         17.    I have reviewed the expert declaration of Gregory A. Brown, Ph.D.,

   FACM of February 23, 2022, provided in this case, which includes evidence from

   a wide variety of sources, including population-based mass testing data, as well

   as age-stratified competition results, all of which support the idea that

   prepubertal males run faster, jump higher and farther, exhibit higher aerobic

   power output, and have greater upper body strength (evidenced by stronger hand

   grip and better performance with chin-ups or bent arm hang) than comparably

   aged females. This performance gap is well-documented in population-based

   physiologic testing data that exists in databases such as the Presidential Fitness

   Test, the Eurofit Fitness test, and additional mass testing data from the UK and

   Australia. Collectively, this data reveals that pre-pubertal males outperform

   comparably aged females in a wide array of athletic tests including but not

   limited to the countermovement jump test, drop jump test, change of direction


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   test, long jump, timed sit-up test, the 10 X 5 meter shuttle run test, the 20 meter

   shuttle run test, curl-ups, pull-ups, push-ups, one mile run, standing broad jump,

   and bent arm hang test. Dr. Brown further references studies showing a

   significant difference in the body composition of males and females before

   puberty. In sum, a large and unbridgeable performance gap between the sexes is

   well-studied and equally well-documented, beginning in many cases before

   puberty. In this white paper, I focus on some of these differences as they touch

   on the question of athlete safety.


   III.   UNDERSTANDING THE CAUSES OF SPORTS INJURIES

          18.    The causes for injury in sport are multifactorial. In recent decades,

   medical researchers have provided us an evolving understanding of how sports

   injuries occur, as well as the factors that make them more or less probable, and

   more or less severe. Broadly speaking, there are two ways of modeling injury:

   the epidemiological model, and the biomechanical model. These models are not

   mutually exclusive, but provide complementary conceptual frameworks to help

   us stratify risk in sport.

          A.     The epidemiological model of injury

          19.    From a practical standpoint, sports medicine researchers and

   clinicians often use the “epidemiological model” to explain, prevent and manage

   sports injuries. Broadly speaking, this model views an injury in sport as the

   product of internal and external risk factors, triggered by an inciting event. In

   other words, a given injury is “caused” by a number of different factors that are


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   unique to a given situation. (Meeuwise 1994.) When the interplay of these

   factors exceeds the injury threshold, injury occurs. One example of how this

   interplay might work would be a female distance runner in track who develops

   a tibial stress fracture, with identified risks of low estrogen state from

   amenorrhea (suppression of menses), an aggressive winter training program on

   an indoor tile surface, and shoes that have been used for too many miles, and

   are no longer providing proper shock absorption. Most risk factors ebb and flow,

   with the overall injury risk at any given time fluctuating as well. Proper

   attention to risk factor reduction before the start of the sports season (including

   appropriate rule-making) is the best way to reduce actual injury rates during

   the season.

         20.     As alluded to, the risk factors associated with injury can be broadly

   categorized as internal or external. Internal risk factors are internal to the

   athlete. These include relatively fixed variables, such as the athlete’s age,

   biological sex, bone mineral density (which affects bone strength) and joint

   laxity, as well as more mutable variables such as body weight, fitness level,

   hydration state, current illness, prior injury, or psychosocial factors such as

   aggression.

         21.     External risk factors are, as the name suggests, external to the

   athlete. These include non-human risks such as the condition of the playing

   surface or equipment, athletic shoe wear, or environmental conditions. Other

   external risk factors come from opposing competitors, and include such


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   variables as player size, speed, aggressiveness, and overall adherence to the

   rules of the game. As already mentioned, these risks can be minimized through

   the proper creation and enforcement of rules, as well as the appropriate

   grouping of athletes together for purposes of competition. To the latter point,

   children don’t play contact sports with adults and, in the great majority of cases,

   men and women compete in categories specific to their own biological sex.

   Certainly these categorical separations are motivated in part by average

   performance differences and considerations of fairness and opportunity. But

   they are also motivated by safety concerns. When properly applied, these

   divisions enhance safety because, when it comes to physical traits such as body

   size, weight, speed, muscle girth, and bone strength, although a certain amount

   of variability exists within each group, the averages and medians differ widely

   between the separated groups.10

           22.     Thus, each of these commonly utilized groupings of athletes

   represents      a    pool     of   individuals       with     predictable      commonalities.

   Epidemiological risk assessment is somewhat predictable and translatable as

   long as these pools remain intact. But the introduction of outside individuals



   10 In some cases, safety requires even further division or exclusion. A welterweight boxer

   would not compete against a heavyweight, nor a heavyweight wrestle against a smaller
   athlete. In the case of youth sports, when children are at an age where growth rates can vary
   widely, leagues will accommodate for naturally-occurring large discrepancies in body size by
   limiting larger athletes from playing positions where their size and strength is likely to result
   in injury to smaller players. Thus, in youth football, players exceeding a certain weight
   threshold may be temporarily restricted to playing on the line and disallowed from carrying
   the ball, or playing in the defensive secondary, where they could impose high-velocity hits on
   smaller players.


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   into a given pool (e.g. an adult onto a youth football team, or males into most

   women’s sports) would change the balance of risk inside that pool. Simply put,

   when you introduce larger, faster, and stronger athletes from one pool into a

   second pool of athletes who are categorically smaller (whether as a result of age

   or sex), you have altered the characteristics of the second pool, and, based on

   known injury modeling, have statistically increased the injury risk for the

   original athletes in that pool. This, in a nutshell, is the basis for World Rugby’s

   recommendations.

         23.    Most clinical studies of the epidemiology of sports injuries use a

   multivariate approach, identifying multiple independent risk factors and

   examining how these factors might interact, in order to determine their relative

   contribution to injury risk, and make educated inferences about causation.

   (Meeuwise 1994.)

         24.    In applying the multivariate approach, the goal is to keep as many

   variables as possible the same so as to isolate the potential effect of a single

   variable (such as age or biological sex) on injury risk, as well as to determine

   how the isolated variable interacts with the other analyzed variables to affect

   injury risk. Failure to consider relevant independent variables can lead to error.

   Researchers focusing on differences between male and female athletes, for

   example, would not compare concussion rates of a high school girls’ soccer team

   to concussion rates of a professional men’s soccer team, because differences in

   the concussion rate might be due to a number of factors besides sex, such as age,


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   body mass, relative differences in skill, speed, or power, as well as differences in

   training volume and intensity.

         25.    As indicated earlier, an injury event is usually the end product of

   a number of different risk factors coming together. (Bahr 2005.) A collision

   between two soccer players who both attempt to head the ball, for example,

   might be the inciting event that causes a concussion. Although the linear and

   angular forces that occur through sudden deceleration would be the proximate

   cause of this injury, the epidemiological model of injury would also factor in

   “upstream” risks, predicting the possibility of an injury outcome for each athlete

   differently depending on the sum of these risks. If the collision injury described

   above occurs between two disparately-sized players, the smaller athlete will

   tend to decelerate more abruptly than the larger athlete, increasing the smaller

   athlete’s risk for injury. Additional discrepancies in factors such as neck

   strength, running speeds, and muscle force generation capacity all result in

   differing risks and thus, the potential for differing injury outcomes from the

   same collision. As I discuss later in this white paper, there are significant

   statistical differences between the sexes when it comes to each of these

   variables, meaning that in a collision sport where skeletally mature males and

   females are playing against one another, there is a higher statistical likelihood

   that injury will result when collisions occur, and in particular there is a higher

   likelihood that a female will suffer injury. This again is the basis for the recent

   decision by World Rugby to disallow the crossover of men into women’s rugby,


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   regardless of gender identity. (World Rugby Transgender Women Guidelines

   2020.) The decision-making represented by this policy change is rational and

   rooted in objective facts and objective risks of harm, because it takes real,

   acknowledged, and documented physical differences between the sexes (in many

   cases before adolescence), and models expected injury risk on the basis of the

   known differences that persist even after hormone manipulation.

         B.     The biomechanical model of injury

         26.    Sports medicine researchers and clinicians also consider a

   biomechanical approach when it comes to understanding sports injuries. In the

   biomechanical model of injury, injury is considered to be analogous to the failure

   of a machine or other structure. Every bone, muscle, or connective tissue

   structure in an athlete’s body has a certain load tolerance. Conceptually, when

   an external “load” exceeds the load tolerance of a given structure in the human

   body, an injury occurs. (Fung 1993 at 1.) Thus, researchers focus on the

   mechanical load—the force exerted on a bone, ligament, joint or other body

   part—and the load tolerance of that impacted or stressed body part, to

   understand what the typical threshold for injury is, and how predictable this

   might be. (McIntosh 2005 at 2-3.) Biomechanical models of injury usually

   consider forces in isolation. The more consistent the movement pattern of an

   individual, and the fewer the contributions of unexpected outside forces to the

   athlete, the more accurate biomechanical predictions of injury will be.




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         27.    Biomechanical modeling can be highly predictive in relatively

   simple settings. For example, in blunt trauma injury from falls, mortality

   predictably rises the greater the fall. About 50% of people who fall four stories

   will survive, while only 10% will survive a fall of seven stories. (Buckman 1991.)

   As complexity increases, predictability in turn decreases. In sport, the pitching

   motion is highly reproducible, and strain injury to the ulnar collateral ligament

   (UCL) of the elbow can be modeled. The load tolerance of the UCL of a pitcher’s

   elbow is about 32 Newton-meters, but the failure threshold of a ligament like

   this in isolation is not the only determinant of whether injury will occur. During

   the pitching motion, the valgus force imparted to the elbow (gapping stress

   across the inner elbow that stretches the UCL) routinely reaches 64 Newtons,

   which is obviously greater than the failure threshold of the ligament. Since not

   all pitchers tear their UCLs, other variables innate to an athlete must mitigate

   force transmission to the ligament and reduce risk. The load tolerance of any

   particular part of an athlete’s body is thus determined by other internal factors

   such as joint stiffness, total ligament support, muscle strength across the joint,

   or bone mineral density. Injury load can be self-generated, as in the case of a

   pitcher’s elbow, or externally-generated, as in the case of a linebacker hitting a

   wide receiver. While load tolerance will vary by individual, as described above,

   and is often reliant on characteristics innate to a given athlete, external load is

   determined by outside factors such as the nature of the playing surface or




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   equipment used, in combination with the weight and speed of other players or

   objects (such as a batted ball) with which the player collides. (Bahr 2005.)

          28.    As this suggests, the two “models” of sports injuries described

   above are not in any sense inconsistent or in tension with each other. Instead,

   they are complementary ways of thinking about injuries that can provide

   different insights. But the important point to make regarding these models is

   that in either model, injury risk (or the threshold for injury) rises and falls

   depending on the size of an externally-applied force, and the ability of a given

   athlete to absorb or mitigate that force.


   IV.    THE PHYSICS OF SPORTS INJURY

          29.    Sports injuries often result from collisions between players, or

   between a player and a rapidly moving object (e.g. a ball or hockey puck, a

   lacrosse or hockey stick). In soccer, for example, most head injuries result from

   collisions with another player’s head or body, collision with the goal or ground,

   or from an unanticipated blow from a kicked ball. (Boden 1998; Mooney 2020.)

   In basketball, players often collide with each other during screens, while diving

   for a loose ball, or while driving to the basket. In lacrosse or field hockey, player-

   to-player, or player-to-stick contact is common.

          30.    But what are the results of those collisions on the human body?

   Basic principles of physics can cast light on this question from more than one

   angle. A general understanding of these principles can help us identify factors




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   that will predictably increase the relative risk, frequency, and severity of sports

   injuries, given certain assumptions.

              31.       First, we can consider energy. Every collision involves an object or

   objects that possess energy. The energy embodied in a moving object (whether a

   human body, a ball, or anything else) is called kinetic energy.

              32.       Importantly, the kinetic energy of a moving object is expressed as:

          𝟏
   𝑬𝒌         𝒎𝒗𝟐 . That is, kinetic energy is a function of the mass of the object
          𝟐


   multiplied by the square of its velocity. (Dashnaw 2012.) To illustrate with a

   simple but extreme example: if athletes A and B are moving at the same speed,

   but athlete A is twice as heavy, athlete A carries twice as much kinetic energy

   as athlete B. If the two athletes weigh the same amount, but athlete A is going

   twice as fast, athlete A carries four times as much kinetic energy as athlete B.

   But as I have noted, the kinetic energy of a moving object is a function of the

   mass of the object multiplied by the square of its velocity. Thus, if athlete A is

   twice as heavy, and moving twice as fast, athlete A will carry eight times the

   kinetic energy of athlete B into a collision.11

              33.       The implication of this equation means that what appear to be

   relatively minor discrepancies in size and speed can result in major differences

   in energy imparted in a collision, to the point that more frequent and more

   severe injuries can occur. To use figures that correspond more closely to average



   11 2   2         8


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   differences between men and women, if Player M weighs only 20% more than

   Player F, and runs only 15% faster, Player M will bring 58% more kinetic energy

   into a collision than Player F.12

            34.    The law of conservation of energy tells us that energy is never

   destroyed or “used up.” If kinetic energy is “lost” by one body in a collision, it is

   inevitably transferred to another body, or into a different form. In the case of

   collision between players, or between (e.g.) a ball and a player’s head, some of

   the energy “lost” by one player, or by the ball, may be transformed into

   (harmless) sound; some may result in an increase in the kinetic energy of the

   player who is struck (through acceleration, which I discuss below); but some of

   it may result in deformation of the player’s body—which, depending on its

   severity, may result in injury. Thus, the greater the kinetic energy brought into

   a collision, the greater the potential for injury, all other things being equal.

            35.    Alternately, we can consider force and acceleration, which is

   particularly relevant to concussion injuries.

            36.    Newton’s third law of motion tells us that when two players collide,

   their bodies experience equal and opposite forces at the point of impact.

            37.    Acceleration refers to the rate of change in speed (or velocity).

   When two athletes collide, their bodies necessarily accelerate (or decelerate)

   rapidly: stopping abruptly, bouncing back, or being deflected in a different




   12 1.2   1.15    1.587


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   direction. Newton’s second law of motion tells us that: 𝑭                𝒎𝒂 (that is, force

   equals mass multiplied by acceleration). From this equation we see that when a

   larger and a smaller body collide, and (necessarily) experience equal and

   opposite forces, the smaller body (or smaller player, in sport) will experience

   more rapid acceleration. We observe this physical principle in action when we

   watch a bowling ball strike bowling pins: the heavy bowling ball only slightly

   changes its course and speed; the lighter pins go flying.

          38.     This same equation also tells us that if a given player’s body or

   head is hit with a larger force (e.g., from a ball that has been thrown or hit

   faster), it will experience greater acceleration, everything else being equal.

          39.     Of course, sport is by definition somewhat chaotic, and forces are

   often not purely linear. Many collisions also involve angular velocities, with the

   production of rotational force, or torque. Torque can be thought of as force that

   causes rotation around a central point. A different but similar equation of

   Newtonian physics governs the principles involved. 13 Torque is relevant to

   injury in several ways. When torque is applied through joints in directions those

   joints are not able to accommodate, injury can occur. In addition, rotational force

   can cause different parts of the body to accelerate at different rates—in some

   cases, very rapid rates, also leading to injury. For example, a collision where the




   13 In this equation, 𝝉  𝑰𝜶, torque equals moment of inertia multiplied by angular acceleration,
   where “moment of inertia” is defined as 𝑰 𝒎𝒓𝟐 , that is, mass multiplied by the square of the
   distance to the rotational axis.


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   body is impacted at the waist can result in high torque and acceleration on the

   neck and head.

         40.    Sport-related concussion—a common sports injury and one with

   potentially significant effects—is attributable to linear, angular, or rotational

   acceleration and deceleration forces that result from impact to the head, or from

   an impact to the body that results in a whiplash “snap” of the head. (Rowson

   2016.) In the case of a concussive head injury, it is the brain that accelerates or

   decelerates on impact, colliding with the inner surface of the skull. (Barth 2001

   at 255.)

         41.    None of this is mysterious: each of us, if we had to choose between

   being hit either by a large, heavy athlete running at full speed, or by a small,

   lighter athlete, would intuitively choose collision with the small, light athlete as

   the lesser of the two evils. And we would be right. One author referred to the

   “increase in kinetic energy, and therefore imparted forces” resulting from

   collision with larger, faster players as “profound.” (Dashnaw 2012.)


   V.    GENDER DIFFERENCES RELEVANT TO INJURY

         42.    It is important to state up front that it is self-evident to most people

   familiar with sport and sport injuries that if men and women were to

   consistently participate together in competitive contact sports, there would be

   higher rates of injury in women. This is one reason that rule modifications often




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   exist in leagues where co-ed participation occurs.14 Understanding the physics

   of sports injuries helps provide a theoretical framework for why this is true, but

   so does common sense and experience. All of us are familiar with basic objective

   physiological differences between the sexes, some of which exist in childhood,

   and some of which become apparent after the onset of puberty, and persist

   throughout adulthood. And as a result of personal experience, all of us also have

   some intuitive sense of what types of collisions are likely to cause pain or injury.

   Not surprisingly, our “common sense” on these basic facts about the human

   condition is also consistent with the observations of medical science. Below, I

   provide quantifications of some of these well-known differences between the

   sexes that are relevant to injury risk, as well as some categorical differences

   that may be less well known.

           A.      Height and weight

           43.     It is an inescapable fact of the human species that males as a group

   are statistically larger and heavier than females. On average, men are 7% to 8%

   taller than women. (Handelsman 2018 at 818.) According to the most recently

   available Centers for Disease Control and Prevention (CDC) statistics, the

   weight of the average U.S. adult male is 16% greater than that of the average

   U.S. adult female. (CDC 2018.) This disparity persists into the athletic cohort.



   14 For example, see https://www.athleticbusiness.com/college/intramural-coed-basketball-

   playing-rules-vary-greatly.html (detailing variety of rule modifications applied in co-ed
   basketball). Similarly, coed soccer leagues often prohibit so-called “slide tackles,” which are not
   prohibited in either men’s or women’s soccer. See, e.g..,
   http://www.premiercoedsports.com/pages/rulesandpolicies/soccer.


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   Researchers find that while athletes tend on average to be lighter than non-

   athletes, the weight difference between the average adult male and female

   athlete remains within the same range—between 14% and 23%, depending on

   the sport analyzed. (Santos 2014; Fields 2018.) Indeed, World Rugby estimates

   that the typical male rugby player weighs 20% to 40% more than the typical

   female rugby player. (World Rugby Transgender Women Guidelines 2020.) This

   size advantage by itself allows men to bring more force to bear in a collision.

         B.     Bone and connective tissue strength

         44.    Men have bones in their arms, legs, feet, and hands that are both

   larger and stronger per unit volume than those of women, due to greater cross-

   sectional area, greater bone mineral content, and greater bone density. The

   advantage in bone size (cross-sectional area) holds true in both upper and lower

   extremities, even when adjusted for lean body mass. (Handelsman 2018 at 818;

   Nieves 2005 at 530.) Greater bone size in men is also correlated with stronger

   tendons that are more adaptable to training (Magnusson 2007), and an

   increased ability to withstand the forces produced by larger muscles (Morris

   2020 at 5). Male bones are not merely larger, they are stronger per unit of

   volume. Studies of differences in arm and leg bone mineral density – one

   component of bone strength – find that male bones are denser, with measured

   advantages of between 5% and 14%. (Gilsanz 2011; Nieves 2005.)




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          45.    Men also have larger ligaments than women (Lin 2019 at 5), and

   stiffer connective tissue (Hilton 2021 at Table 1), providing greater protection

   against joint injury.

          C.     Speed

          46.    When it comes to acceleration from a static position to a sprint,

   men are consistently faster than women. World record sprint performance gaps

   between the sexes remain significant at between 7% and 10.5%, with world

   record times in women now exhibiting a plateau (no longer rapidly improving

   with time) similar to the historical trends seen in men. (Cheuvront 2005.) This

   performance gap has to do with, among other factors, increased skeletal

   stiffness, greater cross-sectional muscle area, denser muscle fiber composition

   and greater limb length. (Handelsman 2018.) Collectively, males, on average,

   run about 10% faster than females. (Lombardo 2018 at 93.) This becomes

   important as it pertains to injury risk, because males involved in sport will often

   be travelling at faster speeds than their female counterparts in comparable

   settings, with resultant faster speed at impact, and thus greater impact force,

   in a given collision.

          D.     Strength/Power

          47.    In 2014, a male mixed-martial art fighter identifying as female and

   fighting under the name Fallon Fox fought a woman named Tamikka Brents,

   and caused significant facial injuries in the course of their bout. Speaking about

   their fight later, Brents said:



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                  “I’ve fought a lot of women and have never felt the
                  strength that I felt in a fight as I did that night. I can’t
                  answer whether it’s because she was born a man or
                  not because I’m not a doctor. I can only say, I’ve never
                  felt so overpowered ever in my life, and I am an
                  abnormally strong female in my own right.”15

          48.     So far as I am aware, mixed martial arts is not a collegiate or high

   school interscholastic sport. Nevertheless, what Brent experienced in an

   extreme setting is true and relevant to safety in all sports that involve contact.

   In absolute terms, males as a group are substantially stronger than women.

          49.     Compared to women, men have “larger and denser muscle mass,

   and stiffer connective tissue, with associated capacity to exert greater muscular

   force more rapidly and efficiently.” (Hilton 2021 at 201.) Research shows that on

   average, during the prime athletic years (ages 18-29) men have, on average, 54%

   greater total muscle mass than women (33.7 kg vs. 21.8 kg) including 64%

   greater muscle mass in the upper body, and 47% greater in the lower body.

   (Janssen 2000 at Table 1.) The cross-sectional area of muscle in women is only

   50% to 60% that of men in the upper arm, and 65% to 70% of that of men in the

   thigh. This translates to women having only 50% to 60% of men's upper limb

   strength and 60% to 80% of men's lower limb strength. (Handelsman 2018 at

   812.) Male weightlifters have been shown to be approximately 30% stronger

   than female weightlifters of equivalent stature and mass. (Hilton 2021 at 203.)

   But in competitive athletics, since the stature and mass of the average male


   15 https://bjj-world.com/transgender-mma-fighter-fallon-fox-breaks-skull-of-her-female-

   opponent/


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   exceeds that of the average female, actual differences in strength between

   average body types will, on average, exceed this. The longer limb lengths of

   males augment strength as well. Statistically, in comparison with women, men

   also have lower total body fat, differently distributed, and greater lean muscle

   mass, which increases their power-to-weight ratios and upper-to-lower limb

   strength ratios as a group. Looking at another common metric of strength, males

   average 57% greater grip strength (Bohannon 2019) and 54% greater knee

   extension torque (Neder 1999). Research shows that sex-based discrepancies in

   lean muscle mass begin to be established from infancy, and persist through

   childhood to adolescence. (Davis 2019; Kirchengast 2001; Taylor 1997; Taylor

   2010; McManus 2011.)

         50.    Using their legs and torso for power generation, men can apply

   substantially larger forces with their arms and upper body, enabling them to

   generate more ball velocity through overhead motions, as well as to generate

   more pushing or punching power. In other words, isolated sex-specific

   differences in muscle strength in one region (even differences that in isolation

   seem small) can, and do combine to generate even greater sex-specific

   differences in more complex sport-specific functions. One study looking at

   moderately-trained individuals found that males can generate 162% more

   punching power than females. (Morris 2020.) Thus, multiple small advantages

   aggregate into larger ones.




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         E.     Throwing and kicking speed

         51.    One result of the combined effects of these sex-determined

   differences in skeletal structure is that men are, on average, able to throw

   objects faster than women. (Lombardo 2018; Chu 2009; Thomas 1985.) By age

   seventeen, the average male can throw a ball farther than 99% of seventeen-

   year-old females—which necessarily means at a faster initial speed assuming a

   similar angle of release— despite the fact that factors such as arm length,

   muscle mass, and joint stiffness individually don’t come close to exhibiting this

   degree of sex-defined advantage. One study of elite male and female baseball

   pitchers showed that men throw baseballs 35% faster than women—81

   miles/hour for men vs. 60 miles/hour for women. The authors of this study

   attribute this to a sex-specific difference in the ability to generate muscle torque

   and power. (Chu 2009.) A study showing greater throwing velocity in male

   versus female handball players attributed it to differences in body size,

   including height, muscle mass, and arm length. (Van Den Tillaar 2012.)

   Interestingly, significant sex-related difference in throwing ability has been

   shown to manifest even before puberty, but the difference increases rapidly

   during and after puberty. (Thomas 1985 at 266.) These sex-determined

   differences in throwing speed are not limited to sports where a ball is thrown.

   Males have repeatedly been shown to throw a javelin more than 30% farther

   than females. (Lombardo 2018 Table 2; Hilton 2021 at 203.) Even in

   preadolescent children, differences exist. International youth records for 5- to


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   12-year-olds in the javelin show 34-55% greater distance in males vs. females

   using a 400g javelin.16

          52.     Men also serve and spike volleyballs with higher velocity than

   women, with a performance advantage in the range of 29-34%. (Hilton 2021.)

   Analysis of first and second tier Belgian national elite male volleyball players

   shows ball spike speeds of 63 mph and 56 mph respectively. (Forthomme 2005.)

   NCAA Division I female volleyball players—roughly comparable to the second-

   tier male elite group referenced above—average a ball spike velocity of

   approximately 40 mph (18.1 m/s). (Ferris 1995 at Table 2.) Notably, based on

   the measurements of these studies, male spiking speed in lower elite divisions

   is almost 40% greater than that of NCAA Division I female collegiate players.

   Separate analyses of serving speed between elite men and women Spanish

   volleyball players showed that the average power serving speed in men was 54.6

   mph (range 45.3–64.6 mph), with maximal speed of 76.4 mph. In women,

   average power serving speed was 49 mph (range 41–55.3 mph) with maximal

   speed of 59 mph. This translates to an almost 30% advantage in maximal serve

   velocity in men. (Palao 2014.)

          53.     Recall that kinetic energy is dependent on mass and the square of

   velocity. A volleyball (with fixed mass) struck by a male, and traveling an




   16 http://age-records.125mb.com/.




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   average 35% faster than one struck by a female, will deliver 82% more energy

   to a head upon impact.

         54.    The greater leg strength and jumping ability of men confer a

   further large advantage in volleyball that is relevant to injury risk. In volleyball,

   an “attack jump” is a jump to position a player to spike the ball downward over

   the net against the opposing team. Research on elite national volleyball players

   found that on average, males exhibited a 50% greater vertical jump height

   during an “attack” than did females. (Sattler 2015.) Similar data looking at

   countermovement jumps (to block a shot) in national basketball players reveals

   a 35% male advantage in jump height. (Kellis 1999.) In volleyball, this dramatic

   difference in jump height means that male players who are competing in female

   divisions will more often be able to successfully perform a spike, and this will be

   all the more true considering that the women’s net height is seven inches lower

   than that used in men’s volleyball. Confirming this inference, research also

   shows that the successful attack percentage (that is, the frequency with which

   the ball is successfully hit over the net into the opponent’s court in an attempt

   to score) is so much higher with men than women that someone analyzing game

   statistics can consistently identify games played by men as opposed to women

   on the basis of this statistic alone. These enhanced and more consistently

   successful attacks by men directly correlate to their greater jumping ability and

   attack velocity at the net. (Kountouris 2015.)




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         55.    The combination of the innate male-female differences cited above,

   along with the lower net height in women’s volleyball, means that if a

   reasonably athletic male is permitted to compete against women, the

   participating female players will likely be exposed to higher ball velocities that

   are outside the range of what is typically seen in women’s volleyball. When we

   recall that ball-to-head impact is a common cause of concussion among women

   volleyball players, this fact makes it clear that participation in girls’ or women’s

   volleyball by biologically male individuals will increase concussion injury risk

   for participating girls or women.

         56.    Male sex-based advantages in leg strength also lead to greater kick

   velocity. In comparison with women, men kick balls harder and faster. A study

   comparing kicking velocity between university-level male and female soccer

   players found that males kick the ball with an average 20% greater velocity than

   females. (Sakamoto 2014.) Applying the same principles of physics we have just

   used above, we see that a soccer ball kicked by a male, travelling an average

   20% faster than a ball kicked by a female, will deliver 44% more energy on head

   impact. Greater force-generating capacity will thus increase the risk of an

   impact injury such as concussion.


   VI.   ENHANCED FEMALE VULNERABILITY TO CERTAIN
         INJURIES

         57.    Above, I have reviewed physiological differences that result in the

   male body bringing greater weight, speed, and force to the athletic field or court,



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   and how these differences can result in a greater risk of injury to females when

   males compete against them. It is also true that the female body is more

   vulnerable than the male body to certain types of injury even when subject to

   comparable forces. This risk appears to extend to the younger age cohorts as

   well. An analysis of Finnish student athletes from 1987-1991, analyzing over

   600,000 person-years of activity exposures, found, in students under fifteen

   years of age, higher rates of injury in girls than boys in soccer, volleyball, judo

   and karate. (Kujala 1995.) Another epidemiological study looking specifically at

   injury rates in over 14,000 middle schoolers over a 20 year period showed that

   “in sex-matched sports, middle school girls were more likely to sustain any

   injury (RR = 1.15, 95% CI = 1.1, 1.2) or a time-loss injury (RR = 1.09, 95% CI =

   1.0, 1.2) than middle school boys.” In analyzed both-sex sports (i.e., sex-

   separated sports that both girls and boys play, like soccer), girls sustained

   higher injury rates, and greater rates of time-loss injury. (Beachy 2014.)

   Another study of over 2000 middle school students at nine schools showed that

   the injury rate was higher for girls’ basketball than for football (39.4 v 30.7/1000

   AEs), and injury rates for girls’ soccer were nearly double that of boys’ soccer

   (26.3 v. 14.7/1000 AEs). (Caswell 2017.) In this regard, I will focus on two areas

   of heightened female vulnerability to collision-related injury which have been

   extensively studied: concussions, and anterior cruciate ligament injuries.




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           A.      Concussions

           58.     Females are more likely than males to suffer concussions in

   comparable sports, and on average suffer more severe and longer lasting

   disability once a concussion does occur. (Harmon 2013 at 4; Berz 2015;

   Blumenfeld 2016; Covassin 2003; Rowson 2016.) Females also seem to be at

   higher risk for post-concussion syndrome than males. (Berz 2015; Blumenfeld

   2016; Broshek 2005; Colvin 2009; Covassin 2012; Dick 2009; Marar 2012; Preiss-

   Farzanegan 2009.)

           59.     The most widely-accepted definition of sport-related concussion

   comes from the Consensus Statement on Concussion in Sport (see below). 17

   (McCrory 2018.) To summarize, concussion is “a traumatically induced transient




   17 “Sport related concussion is a traumatic brain injury induced by biomechanical forces.

   Several common features that may be utilised in clinically defining the nature of a concussive
   head injury include:

   SRC may be caused either by a direct blow to the head, face, neck or elsewhere on the body
   with an impulsive force transmitted to the head.

   SRC typically results in the rapid onset of short-lived impairment of neurological function that
   resolves spontaneously. However, in some cases, signs and symptoms evolve over a number of
   minutes to hours.

   SRC may result in neuropathological changes, but the acute clinical signs and symptoms
   largely reflect a functional disturbance rather than a structural injury and, as such, no
   abnormality is seen on standard structural neuroimaging studies.

   SRC results in a range of clinical signs and symptoms that may or may not involve loss of
   consciousness. Resolution of the clinical and cognitive features typically follows a sequential
   course. However, in some cases symptoms may be prolonged.

   The clinical signs and symptoms cannot be explained by drug, alcohol, or medication use, other
   injuries (such as cervical injuries, peripheral vestibular dysfunction, etc) or other comorbidities
   (e.g., psychological factors or coexisting medical conditions).”


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   disturbance of brain function and involves a complex pathophysiological

   process” that can manifest in a variety of ways. (Harmon 2013 at 1.)

         60.    Sport-related concussions have undergone a significant increase in

   societal awareness and concurrent injury reporting since the initial passage of

   the Zachery Lystedt Concussion Law in Washington State in 2009 (Bompadre

   2014), and the subsequent passage of similar legislation governing return-to-

   play criteria for concussed athletes in most other states in the United States.

   (Nat’l Cnf. of State Leg’s 2018). Concussion is now widely recognized as a

   common sport-related injury, occurring in both male and female athletes. (CDC

   2007.) Sport-related concussions can result from player-surface contact or

   player-equipment contact in virtually any sport. However, sudden impact via a

   player-to-player collision, with rapid deceleration and the transmission of linear

   or rotational forces through the brain, is also a common cause of concussion

   injury. (Covassin 2012; Marar 2012; Barth 2001; Blumenfeld 2016; Boden 1998;

   Harmon 2013 at 4.)

         61.    A large retrospective study of U.S. high school athletes showed a

   higher rate of female concussions in soccer (79% higher), volleyball (0.6

   concussions/10,000 exposures, with 485,000 reported exposures, vs. no

   concussions in the male cohort), basketball (31% higher), and softball/baseball

   (320% higher). (Marar 2012.) A similarly-sized, similarly-designed study

   comparing concussion rates between NCAA male and female collegiate athletes

   showed, overall, a concussion rate among females 40% higher than that of


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   males. Higher rates of injury were seen across individual sports as well,

   including ice hockey (10% higher); soccer (54% higher); basketball (40% higher);

   and softball/baseball (95% higher). (Covassin 2016.) The observations of these

   authors, my own observations from clinical practice, and the acknowledgment

   of our own Society’s Position Statement (Harmon 2013), all validate the higher

   frequency and severity of sport-related concussions in women and girls.

         62.    Most epidemiological studies to date looking at sport-related

   concussion in middle schoolers show that more boys than girls are concussed.

   There are fewer studies estimating concussion rate. This is, in part, because

   measuring injury rate is more time and labor-intensive. Researchers at a

   childrens’ hospital, for example, could analyze the number of children

   presenting to the emergency department with sport-related concussion and

   publish findings of absolute number. However, to study concussion incidence,

   athlete exposures also have to be recorded. Generally speaking, an athlete

   exposure is a single practice or game where an athlete is exposed to playing

   conditions that could reasonably supply the necessary conditions for an injury

   to occur. Rates of athletic injury, concussion among them, are then, by

   convention, expressed in terms of injury rate per 1000 athletic exposures. More

   recently, some studies have been published that analyze the rates of concussion

   in the middle school population. Looking at the evidence, the conclusion can be

   made that females experience increased susceptibility to concussive injuries

   before puberty. For example, Ewing-Cobbs, et al. (2018) found elevated post-


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   concussion symptoms in girls across all age ranges studied, including children

   between the ages of 4 and 8. Kerr’s 2017 study of middle school students showed

   over three times the rate of female vs male concussion in students participating

   in sex-comparable sports [0.18 v. 0.66/1000 A.E.’s]. (Kerr 2017.) This is the first

   study I am aware of that mimics the trends seen in adolescent injury

   epidemiology showing a higher rate of concussion in girls than boys in

   comparable sports.

          63.     More recent research looking at the incidence of sport-related

   concussions in U.S. middle schoolers between 2015 and 2020, found that the rate

   of concussion was higher in middle school athletes than those in high school. In

   this study, girls had more than twice the rate of concussion injury (0.49/1000

   athletic exposures vs 0.23/1000 AE) in analyzed sports (baseball/softball,

   basketball, soccer and track), as well as statistically greater time loss. (Hacherl

   2021 (Journal of Athletic Training); Hacherl 2021 (Archives of Clinical

   Neuropsychology).) The authors hypothesized that the increasing incidence of

   concussion in middle school may relate to “other distinct differences associated

   with the middle school sport setting itself, such as, the large variations in player

   size and skill.”18

          64.     In addition, females on average suffer materially greater cognitive

   impairment than males when they do suffer a concussion. Group differences in



   18 https://www.nata.org/press-release/062421/middle-school-sports-have-overall-higher-rate-

   concussion-reported-high-school.


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   cognitive impairment between females and males who have suffered concussion

   have been extensively studied. A study of 2340 high school and collegiate

   athletes who suffered concussions determined that females had a 170% higher

   frequency of cognitive impairment following concussions, and that in

   comparison with males, female athletes had significantly greater declines in

   simple and complex reaction times relative to their preseason baseline levels.

   Moreover, the females experienced greater objective and subjective adverse

   effects from concussion even after adjusting for potentially protective effect of

   helmets used by some groups of male athletes. (Broshek 2005 at 856, 861; Colvin

   2009; Covassin 2012.)

         65.    This large discrepancy in frequency and severity of concussion

   injury is consistent with my own observations across many years of clinical

   practice. The large majority of student athletes who have presented at my

   practice with severe and long-lasting cognitive disturbance have been

   adolescent girls. I have seen girls remain symptomatic for over a year, and lose

   ground academically and become isolated from their peer groups due to these

   ongoing symptoms. For patients who experience these severe effects, post-

   concussion syndrome can be life-altering.

         66.    Some of the anatomical and physiological differences that we have

   considered between males and females help to explain the documented

   differences in concussion rates and in symptoms between males and females.

   (Covassin 2016; La Fountaine 2019; Lin 2019; Tierney 2005; Wunderle 2014.)


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   Anatomically, there are significant sex-based differences in head and neck

   anatomy, with females exhibiting in the range of 30% to 40% less head-neck

   segment mass and neck girth, and 49% lower neck isometric strength. This

   means that when a female athlete’s head is subjected to the same load as an

   analogous male, there will be a greater tendency for head acceleration, and

   resultant injury. (Tierney 2005 at 276-277.)

         67.    When modeling the effect of the introduction of male mass, speed,

   and strength into women’s rugby, World Rugby gave particular attention to the

   resulting increases in forces and acceleration (and injury risk) experienced in

   the head and neck of female players. Their analysis found that “the magnitude

   of the known risk factors for head injury are . . . predicted by the size of the

   disparity in mass between players. The addition of [male] speed as a

   biomechanical variable further increases these disparities,” and their model

   showed an increase of up to 50% in neck and head acceleration that would be

   experienced in a typical tackle scenario in women’s rugby. As a result, “a number

   of tackles that currently lie beneath the threshold for injury would now exceed

   it, causing head injury.” (World Rugby Transgender Women Guidelines 2020.)

   While rugby is notoriously contact-intensive, similar increases to risk of head

   and neck injury to women are predictable in any sport context in which males

   and females collide at significant speed, as happens from time to time in sports

   including soccer, softball, and basketball.




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         68.    In addition, even when the heads of female and male athletes are

   subjected to identical accelerative forces, there are sex-based differences in

   neural anatomy and physiology, cerebrovascular organization, and cellular

   response to concussive stimuli that make the female more likely to suffer

   concussive injury, or more severe concussive injury. For instance, hypothalamic-

   pituitary disruption is thought to play a role in post-concussion symptomatology

   that differentially impacts women. (McGroarty 2020; Broshek 2005 at 861.)

   Another study found that elevated progesterone levels during one portion of the

   menstrual    cycle   were   associated    with   more   severe   post-concussion

   symptomatology that differentially impacted women. (Wunderle 2014.)

         69.    As it stands, when females compete against each other, they

   already have higher rates of concussive injury than males, across most sports.

   The addition of biologically male athletes into women’s contact sports will

   inevitably increase the risk of concussive injury to girls and women, for the

   multiple reasons I have explained above, including, but not limited to, the innate

   male advantage in speed and lean muscle mass. Because the effects of

   concussion can be severe and long-lasting, particularly for biological females, we

   can predict with some confidence that if participation by biological males in

   women’s contact sports based on gender identity becomes more common, more

   biological females will suffer substantial concussive injury and the potential for

   long-term harm as a result.




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          B.       Anterior Cruciate Ligament injuries

          70.      The Anterior Cruciate Ligament (“ACL”) is a key knee stabilizer

   that prevents anterior translation of the tibia relative to the femur and also

   provides rotatory and valgus knee stability.19 (Lin 2019 at 4.) Girls and women

   are far more vulnerable to ACL injuries than are boys and men. The physics of

   injury that we have reviewed above makes it inevitable that the introduction of

   biologically male athletes into the female category will increase still further the

   occurrence of ACL injuries among girls or women who encounter these players

   on the field.

          71.      Sports-related injury to the ACL is so common that it is easy to

   overlook the significance of it. But it is by no means a trivial injury, as it can

   end sports careers, require surgery, and usually results in early-onset, post-

   traumatic osteoarthritis, triggering long-term pain and mobility problems later

   in life. (Wang 2020.)

          72.      Even in the historic context in which girls and women limit

   competition to (and so only collide with) other girls and women, the rate of ACL

   injury is substantially higher among female than male athletes. (Flaxman 2014;

   Lin 2019; Agel 2005.) One meta-analysis of 58 studies reports that female

   athletes have a 150% relative risk for ACL injury compared with male athletes,

   with other estimates suggesting as much as a 300% increased risk. (Montalvo

   2019; Sutton 2013.) Particularly in those sports designated as contact sports, or


   19 Valgus force at the knee is a side-applied force that gaps the medial knee open.




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   sports with frequent cutting and sharp directional changes (basketball, field

   hockey, lacrosse, soccer), females are at greater risk of ACL injury. In basketball

   and soccer, this risk extends across all skill levels, with female athletes between

   two and eight times more likely to sustain an ACL injury than their male

   counterparts. (Lin 2019 at 5.) These observations are widely validated, and

   consistent with the relative frequencies of ACL injuries that I see in my own

   practice.

         73.    When the reasons underlying the difference in the incidence of

   ACL injury between males and females were first studied in the early 1990s,

   researchers speculated that the difference might be attributable to females’

   relative inexperience in contact sports, or to their lack of appropriate training.

   However, a follow-up 2005 study looking at ACL tear disparities reported that,

   “Despite vast attention to the discrepancy between anterior cruciate ligament

   injury rates between men and women, these differences continue to exist.” (Agel

   2005 at 524.) Inexperience and lack of training do not explain the differences.

   Sex seems to be an independent predictor of ACL tear risk.

         74.    In fact, as researchers have continued to study this discrepancy,

   they have determined that multiple identifiable anatomical and physiological

   differences between males and females play significant roles in making females

   more vulnerable to ACL injuries than males. (Flaxman 2014; Lin 2019; Wolf

   2015.) Summarizing the findings of a number of separate studies, one researcher

   recently cited as anatomical risk factors for ACL injury smaller ligament size,


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   decreased femoral notch width, increased posterior-inferior slope of the lateral

   tibia plateau, increased knee and generalized laxity, and increased body mass

   index (BMI). With the exception of increased BMI, each of these factors is more

   likely to occur in female than male athletes. (Lin 2019 at 5.) In addition, female

   athletes often stand in more knee valgus (that is, in a “knock-kneed” posture)

   due to wider hips and a medially-oriented femur. Often, this is also associated

   with a worsening of knee valgus during jump landings. The body types and

   movement patterns associated with these valgus knee postures are more

   common in females and increase the risk for ACL tear. (Hewett 2005.)

         75.    As with concussion, the cyclic fluctuation of sex-specific hormones

   in women is also thought to be a possible risk factor for ACL injury. Estrogen

   acts on ligaments to make them more lax, and it is thought that during the

   ovulatory phase of menses (when estrogen levels peak), the risk of ACL tear is

   higher. (Chidi-Ogbolu 2019 at 1; Herzberg 2017.)

         76.    Whatever the factors that increase the injury risk for ACL tears in

   women, the fact that a sex-specific difference in the rate of ACL injury exists is

   well established and widely accepted.

         77.    Although non-contact mechanisms are the most common reason for

   ACL tears in females, tears related to contact are also common, with ranges

   reported across multiple studies of from 20%-36% of all ACL injuries in women.

   (Kobayashi 2010 at 672.) For example, when a soccer player who is kicking a

   ball is struck by another player in the lateral knee of the stance leg, medial and


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   rotational forces can tear the medial collateral ligament (MCL), the ACL, and

   the meniscus. Thus, as participation in the female category based on identity

   rather than biology becomes more common (entailing the introduction of

   athletes with characteristics such as greater speed and lean muscle mass), and

   as collision forces suffered by girls and women across the knee increase

   accordingly, the risk for orthopedic injury and in particular ACL tears among

   impacted girls and women will inevitably rise.

         78.    Of course there exists variation in all these factors within a given

   group of males or females. However, it is also true that within sex-specific pools,

   size differential is somewhat predictable and bounded, even considering

   outliers. When males are permitted to enter into the pool of female athletes

   based on gender identity rather than biological sex, there is an increased

   possibility that a statistical outlier in terms of size, weight, speed, and

   strength—and potentially an extreme outlier—is now entering the female pool.

   Although injury is not guaranteed, risks to female participants will increase.

   And as I discuss later, the available evidence together suggests that this will be

   true even with respect to males who have been on testosterone suppression for

   a year or more. World Rugby relied heavily upon this when they were

   determining their own policy, and I think it is important to reiterate that this

   policy, rooted in concern for athlete safety, is justifiable based upon current

   evidence from medical research and what we know about biology.




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   VII.   TESTOSTERONE SUPPRESSION WILL NOT PREVENT THE
          HARM TO FEMALE SAFETY IN ATHLETICS

          79.     A recent editorial in the New England Journal of Medicine opined

   that policies governing transgender participation in female athletics “must

   safeguard the rights of all women—whether cisgender or transgender.” (Dolgin

   2020.) Unfortunately, the physics and medical science reviewed above tell us

   that this is not practically possible. If biological males are given a “right” to

   participate in the female category based on gender identity, then biological

   women will be denied the right to reasonable expectations of safety and injury

   risk that have historically been guaranteed by ensuring that females compete

   (and collide) only with other females.

          80.     Advocates of unquestioning inclusion based on gender identity

   often contend that hormonal manipulation of a male athlete can feminize the

   athlete enough that he is comparable with females for purposes of competition.

   The NCAA’s Office of Inclusion asserts (still accessible on the NCAA website as

   of this writing) that “It is also important to know that any strength and

   endurance advantages a transgender woman arguably may have as a result of

   her prior testosterone levels dissipate after about one year of estrogen or

   testosterone suppression therapy.”20 (NCAA 2011 at 8.) Whether or not this is

   true is a critically important question.




   20 https://www.ncaa.org/sports/2016/3/2/lesbian-gay-bisexual-transgender-and-questioning-

   lgbtq.aspx


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         81.    At the outset, we should note that while advocates sometimes claim

   that testosterone suppression can eliminate physiological advantages in a

   biological male, none of the relevant transgender eligibility policies that I am

   aware of prior to 2021 requires any demonstration that it has actually achieved

   that effect in a particular male who seeks admission into the female category.

   The Connecticut policy that is currently at issue in ongoing litigation permits

   admission to the female category at the high school level without requiring any

   testosterone suppression at all. Prior to their new policy, just announced in

   January 2022, the NCAA’s policy required no demonstration of any reduction of

   performance capability, change in weight, or regression of any other physical

   attribute of the biological male toward female levels. It did not require

   achievement of any particular testosterone level, and did not provide for any

   monitoring of athletes for compliance. Moving forward, through a phasing

   process, the NCAA will ultimately require athletes in each sport to meet

   requirements of their sport’s national governing body (NGB). If no policy exists,

   the policy of that sport’s international governing body applies, or, finally, if no

   policy exists there, the 2015 policy of the International Olympic Committee

   (IOC) will apply. The 2015 IOC policy requires no showing of any diminution of

   any performance capability or physical attribute of the biological male, and

   requires achievement and compliance monitoring only of a testosterone level

   below 10nmol/liter—a level far above levels occurring in normal biological




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   females (0.06 to 1.68 nmol/L).21 Indeed, female athletes with polycystic ovarian

   disorder—a condition that results in elevated testosterone levels—rarely exceed

   4.8 nmol/L, which is the basis for setting the testing threshold to detect

   testosterone doping in females at 5.0 nmol/L. Thus, males who qualify under

   the 2015 IOC policy to compete as transgender women may have testosterone

   levels—even after hormone suppression—double the level that would disqualify

   a biological female for doping with testosterone.22

           82.     As Dr. Emma Hilton has observed, the fact that there are over 3000

   sex-specific differences in skeletal muscle alone makes the hypothesis that sex-

   linked performance advantages are attributable solely to current circulating

   testosterone levels improbable at best. (Hilton 2021 at 200-01.)

           83.     In fact, the available evidence strongly indicates that no amount of

   testosterone suppression can eliminate male physiological advantages relevant

   to performance and safety. Several authors have recently reviewed the science

   and statistics from numerous studies that demonstrate that one year (or more)

   of testosterone suppression does not substantially eliminate male performance

   advantages. (Hilton 2021; De Varona 2021; Harper 2021.) As a medical doctor,

   I will focus on those specific sex-based characteristics of males who have


   21 Normal testosterone range in a healthy male averages between 7.7 and 29.4 nmol/L.


   22 In November 2021, the IOC released new guidelines, deferring decision-making about a

   given sport’s gender-affectedness to its governing body. The current NCAA policy, however,
   still utilizes the 2015 IOC policy to determine an athlete’s eligibility in event that the sport’s
   national and international governing bodies lack policies to determine eligibility.




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   undergone normal sex-determined pubertal skeletal growth and maturation

   that are relevant to the safety of female athletes. Here, too, the available science

   tells us that testosterone suppression does not eliminate the increased risk to

   females or solve the safety problem.

         84.     The World Rugby organization reached this same determination

   based on the currently available science, concluding that male physiological

   advantages that “create risks [to female players] appear to be only minimally

   affected” by testosterone suppression. (World Rugby Transgender Women

   Guidelines 2020.)

         85.     Surprisingly, so far as public information reveals, the NCAA’s

   Committee on Competitive Safeguards is not monitoring and documenting

   instances of transgender participation on women’s teams for purposes of injury

   reporting. In practice, the NCAA is conducting an experiment which in theory

   predicts an increased frequency and severity of injuries to women in contact

   sports, while at the same time failing to collect the relevant data from its

   experiment.

         86.     In their recent guidelines, UK Sport determined that, “based upon

   current evidence, testosterone suppression is unlikely to guarantee fairness

   between transgender women and natal females in gender-affected sports.” (UK

   Sports Councils’ Equality Group Guidance 2021 at 7.) They also warned that

   migration to a scenario by NGBs where eligibility is determined through case-

   by-case assessment “is unlikely to be practical nor verifiable for entry into


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   gender-affected sports,” in part because “many tests related to sports

   performance are volitional,” and incentives on the part of those tested would

   align with intentional poor performance. (UK Sports Councils’ Equality Group

   Guidance 2021 at 8.)

          87.    Despite these concerns, this appears to be exactly the route that

   the IOC is taking, as reflected in their Framework on Fairness, Inclusion and

   Non-Discrimination on the Basis of Gender Identity, released in November of

   2021. 23 In it, the IOC lists two disparate goals. First, that “where sports

   organizations elect to issue eligibility criteria for men’s and women’s categories

   for a given competition, they should do so with a view to . . . [p]roviding

   confidence that no athlete within a category has an unfair and disproportionate

   competitive advantage . . . [and] preventing a risk to the physical safety of other

   athletes.” (IOC Framework 2021 § 4.1.) At the same time, governing bodies are

   not to preclude any athlete from competing until evidence exists based upon

   “robust and peer-reviewed research that . . . demonstrates a consistent, unfair,

   disproportionate      competitive     advantage      in    performance      and/or     an

   unpreventable risk to the physical safety of other athletes” – research moreover

   that “is largely based on data collected from a demographic group that is

   consistent in gender and athletic engagement with the group that the eligibility


   23 The IOC Framework on Fairness, Inclusion and Non-Discrimination on the Basis of Gender

   Identity and Sex Variations is available at
   https://stillmed.olympics.com/media/Documents/News/2021/11/IOC-Framework-Fairness-
   Inclusion-Non-discrimination-2021.pdf?_ga=2.72651665.34591192.1645554375-
   759350959.1644946978


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   criteria aim to regulate.” (IOC Framework 2021 § 6.1) Finally, affected athletes

   may appeal any evidence-based decision-making process through a further

   “appropriate internal mediation mechanism, such as a Court of Arbitration for

   Sport.” (IOC Framework 2021 § 6.1.) Rather than cite any of the growing

   evidence that testosterone suppression cannot mitigate sex-based performance

   differences, the IOC’s new policy remains aspirational and opaque. And yet the

   research relating to hormonal suppression in transgender athletes, as confirmed

   by World Rugby and UK Sport, already speaks very clearly to the fact that males

   retain a competitive advantage over women that cannot be eliminated through

   testosterone suppression alone. What follows is a brief summary of some of these

   retained differences as they relate to sport safety.

         A.     Size and weight

         88.    Males are, on average, larger and heavier. As we have seen, these

   facts alone mean that males bring more kinetic energy into collisions, and that

   lighter females will suffer more abrupt deceleration in collisions with larger

   bodies, creating heightened injury risk for impacted females.

         89.    I start with what is obvious and so far as I am aware undisputed—

   that after the male pubertal growth spurt, suppression of testosterone does not

   materially shrink bones so as to eliminate height, leverage, performance, and

   weight differences that follow from simply having longer, larger bones, and

   being subsequently taller.




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         90.    In addition, multiple studies have found that testosterone

   suppression may modestly reduce, but does not come close to eliminating the

   male advantage in muscle mass and lean body mass, which together contribute

   to the greater average male weight. Researchers looking at transitioning

   adolescents found that the weight of biological male subjects increased rather

   than decreased after treatment with an antiandrogen testosterone suppressor.

   (Tack 2018.) In one recent meta-analysis, researchers looking at the

   musculoskeletal effects of hormonal transition found that even after males had

   undergone 36 months of therapy, their lean body mass and muscle area

   remained above those of females. (Harper 2021.) Another group in 2004 studied

   the effects of testosterone suppression to less than 1 nmol/L in men after one or

   more years, but still found only a 12% total loss of muscle area by the end of

   thirty-six months. (Gooren 2004.)

         B.     Bone density

         91.    Bone mass (which includes both size and density) is maintained

   over at least two years of testosterone suppression (Singh-Ospina 2017; Fighera

   2019), and one study found it to be preserved even over a median of 12.5 years

   of suppression (Hilton 2021; Ruetsche 2005).

         C.     Strength

         92.    A large number of studies have now observed minimal or no

   reduction in strength in male subjects following testosterone suppression. In one

   recent meta-analysis, strength loss after twelve months of hormone therapy


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   ranged from negligible to 7%. (Harper 2021.) Given the baseline male strength

   advantage in various muscle groups of from approximately 25% to 100% above

   female levels that I have noted in Section V.D above, even a 7% reduction leaves

   a large retained advantage in strength. Another study looking at handgrip

   strength—which is a proxy for general strength—showed a 9% loss of strength

   after two years of hormonal treatment in males who were transitioning, leaving

   a 23% retained advantage over the female baseline. (Hilton 2021.) Yet another

   study which found a 17% retained grip strength advantage noted that this

   placed the median of the group treated with hormone therapy in the 95th

   percentile for grip strength among age-matched females. (Scharff 2019.)

   Researchers looking at transitioning adolescents showed no loss of grip strength

   after hormone treatment. (Tack 2018.)

         93.    One recent study on male Air Force service members undergoing

   transition showed that they retained more than two thirds of pretreatment

   performance advantage over females in sit-ups and push-ups after between one

   and two years of testosterone-reducing hormonal treatment. (Roberts 2020.)

   Another recently-published observational cohort study looked at thigh strength

   and thigh muscle cross-sectional area in men undergoing hormonal transition

   to transgender females. After one year of hormonal suppression, this group saw

   only a 4% decrease in thigh muscle cross-sectional area, and a negligible

   decrease in thigh muscle strength. (Wiik 2020.) Wiik and colleagues looked at

   isokinetic strength measurements in individuals who had undergone at least 12


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   months of hormonal transition and found that muscle strength was comparable

   to baseline, leaving transitioned males with a 50% strength advantage over

   reference females. (Wiik 2020.) Finally, one cross-sectional study that compared

   men who had undergone transition at least three years prior to analysis, to age-

   matched, healthy males found that the transgender individuals had retained

   enough strength that they were still outside normative values for women. This

   imbalance continued to hold even after eight years of hormone suppression. The

   authors also noted that since males who identify as women often have lower

   baseline (i.e., before hormone treatment) muscle mass than the general

   population of males, and since baseline measures for this study were

   unavailable, the post-transition comparison may actually represent an

   overestimate of muscle mass regression in transgender females. (Lapauw 2008;

   Hilton 2021.)

         94.    World Rugby came to the same conclusion based on its own review

   of the literature, reporting that testosterone suppression “does not reverse

   muscle size to female levels,” and in fact that “studies assessing [reductions in]

   mass, muscle mass, and/or strength suggest that reduction in these variables

   range between 5% and 10%. Given that the typical male vs female advantages

   range from 30% to 100%, these reductions are small.” (World Rugby

   Transgender Women Guidelines 2020.)

         95.    It is true that most studies of change in physical characteristics or

   capabilities over time after testosterone suppression involve untrained subjects


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   rather than athletes, or subjects with low to moderate training. It may be

   assumed that all of the Air Force members who were subjects in the study I

   mention above were physically fit and engaged in regular physical training. But

   neither that study nor those studies looking at athletes quantify the volume or

   type of strength training athletes are undergoing. The important point to make

   is that the only effect strength training could have on these athletes is to

   counteract and reduce the limited loss of muscle mass and strength that does

   otherwise occur to some extent over time with testosterone blockade. There has

   been at least one study that illustrates this, although only over a short period,

   measuring strength during a twelve-week period where testosterone was

   suppressed to levels of 2 nmol/L. During that time, subjects actually increased

   leg lean mass by 4%, and total lean mass by 2%, and subject performance on the

   10 rep-max leg press improved by 32%, while their bench press performance

   improved by 17%. (Kvorning 2006.)

         96.    The point for safety is that superior strength enables a biological

   male to apply greater force against an opponent’s body during body contact, or

   to throw, hit, or kick a ball at speeds outside the ranges normally encountered

   in female-only play, with the attendant increased risks of injury that I have

   already explained.

         D.     Speed

         97.    As to speed, the study of transitioning Air Force members found

   that these males retained a 9% running speed advantage over the female control


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   group after one year of testosterone suppression, and their average speed had

   not declined significantly farther by the end of the 2.5 year study period.

   (Roberts 2020.) Again, I have already explained the implications of greater male

   speed on safety for females on the field and court, particularly in combination

   with the greater male body weight.


                                   CONCLUSION

         Since the average male athlete is larger and exerts greater power than

   the average female athlete in similar sports, male–female collisions will produce

   greater energy at impact, and impart greater risk of injury to a female, than

   would occur in most female-female collisions. Because of the well-documented

   physiological testing and elite performance differences in speed and strength, as

   well as differences in lean muscle mass that exist across all age ranges, the

   conclusions of this paper can apply to a certain extent before, as well as during,

   and after puberty. We have seen that males who have undergone hormone

   therapy in transition toward a female body type nevertheless retain

   musculoskeletal “legacy” advantages in muscle girth, strength, and size. We

   have also seen that the additive effects of these individual advantages create

   multiplied advantages in terms of power, force generation and momentum on

   the field of play. In contact or collision sports, sports involving projectiles, or

   sports where a stick is used to strike something, the physics and physiology

   reviewed above tell us that permitting male-bodied athletes to compete against,

   or on the same team as females—even when undergoing testosterone

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   suppression—must be expected to create predictable, identifiable, substantially

   increased, and unequal risks of injuries to the participating women.

         Based on its independent and extensive analysis of the literature coupled

   with injury modeling, World Rugby recognized the inadequacy of the

   International Olympic Committee’s policy to preserve safety for female athletes

   in their contact sport (the NCAA policy is even more lax in its admission of

   biological males into the female category). Among the explicit findings of the

   World Rugby working group were the following:

               Forces and inertia faced by a smaller and slower player during
                collisions are significantly greater when in contact with a larger,
                faster player.

               Discrepancies in mass and speed (such as between two opponents
                in a tackle) are significant determinants of various head and
                other musculoskeletal injury risks.

               The risk of injury to females is increased by biological males’
                greater ability to exert force (strength and power), and also by
                females’ reduced ability to receive or tolerate that force.

               Testosterone suppression results in only “small” reductions in the
                male physiological advantages. As a result, heightened injury risks
                remain for females who share the same field or court with
                biological males.

               These findings together predict a significant increase in injury
                rates for females in rugby if males are permitted to participate
                based on gender identity, with or without testosterone
                suppression, since the magnitude of forces and energy transfer
                during collisions will increase substantially, directly correlated to
                the differences in physical attributes that exist between the
                biological sexes.

         Summarizing their work, the authors of the World Rugby Guidelines said

   that, “World Rugby’s number one stated priority is to make the game as safe as


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   possible, and so World Rugby cannot allow the risk to players to be increased to

   such an extent by allowing people who have the force and power advantages

   conferred by testosterone to play with and against those who do not.” (World

   Rugby Transgender Guidelines 2020.) As my own analysis above makes clear, I

   agree with the concerns of UK Sport and the conclusions of World Rugby

   regarding risk to female athletes. Importantly, I also agree that it must be a

   high priority for sports governing bodies (and other regulatory or governmental

   bodies governing sports) to make each sport as safe as reasonably possible. And

   in my view, medical practitioners with expertise in this area have an obligation

   to advocate for science-based policies that promote safety.

          The performance advantages retained by males who participate in

   women’s sports based on gender identity are readily recognized by the public.

   When an NCAA hurdler who ranked 200th while running in the collegiate male

   division transitions and immediately leaps to a number one ranking in the

   women’s division;24 when a high school male sprinter who ranked 181st in the

   state running in the boys’ division transitions and likewise takes first place in

   the girls’ division (De Varona 2021), the problem of fairness and equal

   opportunities for girls and women is immediately apparent, and indeed this

   problem is being widely discussed today in the media.




   24 https://en.wikipedia.org/wiki/Cece_Telfer (accessed 6/20/21)




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         The causes of sports injuries, however, are multivariate and not always

   as immediately apparent. While, as I have noted, some biological males have

   indeed competed in a variety of girls’ and women’s contact sports, the numbers

   up till now have been small. But recent studies have reported very large

   increases in the number of children and young people identifying as transgender

   compared to historical experience. For example, an extensive survey of 9th and

   11th graders in Minnesota found that 2.7% identified as transgender or gender-

   nonconforming— well over 100 times historical rates (Rider 2018), and many

   other sources likewise report this trend.25

         Faced with this rapid social change, it is my view as a medical doctor that

   policymakers have an important and pressing duty not to wait while avoidable

   injuries are inflicted on girls and women, but instead to proactively establish

   policies governing participation of biological males in female athletics that give

   proper and scientifically-based priority to safety in sport for these girls and

   women. Separating participants in contact sports based on biological sex

   preserves competitive equity, but also promotes the safety of female athletes by

   protecting them from predictable and preventable injury. Otherwise, the hard

   science that I have reviewed in this white paper leaves little doubt that

   eligibility policies based on ideology or gender identity rather than science, will,



   25 https://www.nytimes.com/2016/07/01/health/transgender-

   population.html?.?mc=aud_dev&ad-
   keywords=auddevgate&gclid=Cj0KCQjwkZiFBhD9ARIsAGxFX8BV5pozB9LI5Ut57OQzuMhu
   rWThv BMisV9NyN9YTXIzWl7OAnGT6VkaAu0jEALw_wcB&gclsrc=aw.ds (accessed 6/20/21)


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   over time, result in increased, and more serious, injuries to girls and women

   who are forced to compete against biologically male transgender athletes. When

   basic science and physiology both predict increased injury, then leagues, policy-

   makers, and legislators have a responsibility to act to protect girls and women

   before they get hurt.


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                                           President, AMSSM




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                    APPENDIX – LIST OF PUBLICATIONS


   Publications of Dr. Chad Thomas Carlson, M.D., FACSM


   Sports Medicine CAQ Study Guide, Healthy Learning, 2021 [editor].

   SEXUAL VIOLENCE IN SPORT: AMERICAN MEDICAL SOCIETY FOR
       SPORTS MEDICINE POSITION STATEMENT. Published in Curr
       Sports Med Reports June 2020;19(6):232-4; Clin J Sports Med June 8
       2020; Br J Sports Med 2020;0:1-3.

   Traveling with Medication. NCAA Sports Science Institute Bulletin, 2015
         http://www.ncaa.org/sport-science-institute/traveling-medication.

   A SURVEY OF STATE MEDICAL LICENSING BOARDS: CAN THE
        TRAVELING TEAM PHYSICIAN PRACTICE IN YOUR STATE? 2013.
        Jan (47)1:60-62.

   AXIAL BACK PAIN IN THE ATHLETE: PATHOPHYSIOLOGY AND
        APPROACH TO REHABILITATION. Curr Rev Musculoskel Med. 2009
        (2):88-93.

   THE NATURAL HISTORY AND MANAGEMENT OF HAMSTRING
        INJURIES. Curr Rev Musculoskel Med 2008 (1):120-128.

   SPONDYLOLYSIS AND THE ATHLETE. Athletic Ther Today. 2007 (12)4:37-
       39.

   “ACUTE SUBDURAL HEMATOMA IN A HIGH SCHOOL FOOTBALL
        PLAYER,” J Athl Training, 38;2(63), 2003.

   THE RELATIONSHIP OF EXCESSIVE WEIGHT LOSS TO PERFORMANCE
        IN HIGH SCHOOL WRESTLERS – A PILOT STUDY; presented at the
        AMSSM national meeting, San Diego, CA, 2000; Clinical Journal of
        Sport Medicine 10(4):310, October, 2000.




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                         CURRICULUM VITAE (ABBREVIATED)



Chad Thomas Carlson, MD

       Work Address: Stadia Sports Medicine
                     6000 University Ave.
                     Suite 250
                     West Des Moines, IA, 50266
                     Phone (515) 221-1102

       Active professional licenses: IA, NE, CA, TX, TN, NC, AZ, FL (telemed)

       Board certified family medicine, ABMS 1998; recertified 2005, 2012

       Board certified sports medicine, ABMS 1999; recertified 2009, 2019




EDUCATION:

      Fellowship: Sports Medicine -- Ball Memorial Hospital/Central Indiana Orthopedics, 1997-1999; Completed
       4/99
      Residency: University of Michigan Department of Family Medicine,1994-97
      University of Nebraska College of Medicine
       M.D. obtained May 1994
      University of Nebraska at Lincoln
       B.S. with majors in history (emphasis American) and biology obtained May 1990

EMPLOYMENT HISTORY:

      Physician Owner, Stadia Sports Medicine, West Des Moines, IA, 2006 - present
      Staff Physician, University of Illinois, 9/04-6/06
      Director, Carle Sports Medicine, Carle Foundation Hospital, Urbana, IL, 2001-2004; Team physician,
       University of Illinois.
      Private practice, Ionia County Hospital, Ionia, MI, 1999-2001.

HOSPITAL AFFILIATIONS:

      Iowa Methodist Hospital, Des Moines
      Mercy Medical Center, Des Moines

PROFESSIONAL HONORS/AWARDS:

      Appointed to Board of Directors, Physical Activity Alliance, 2020
      Appointed to joint AMSSM/NCAA COVID-19 Working Group, March 2020-present
            o Medical advisory panel, 2021 Women’s Division I NCAA Basketball Tournament
      AMSSM Founders Award 2019, awarded once annually for the Sports Medicine Physician nationally who
       best exemplifies the practice of Sports Medicine
      Fellow designation, American Medical Society for Sports Medicine, 2019
      Elected to Executive Committee, American Medical Society for Sports Medicine, 2017-21
            o President of AMSSM, 2019-2020


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      Practice/Policy Committee, AMSSM, 2007-2016 (Former Chair)
            o Author of US HR 921, the Sports Medicine Licensure Clarity Act, which passed the US House of
                Representatives and Senate in January 2017, and was signed into law by President Trump, 2017
      Appointed member of physician liaison group to the NCAA to discuss return to sport strategies in the COVID-
       19 pandemic, 2020
      Appointed to Board of Directors, Running the Race, 2018-present
      Sports Ultrasound Committee, Policy Co-Chair, AMSSM, 2015-2017
      Elected to Board of Directors, American Medical Society for Sports Medicine, 2009-2013.
      Member, Health and Science Policy Committee, ACSM, 2010-present
            o Chair, Clinical Medicine Subcommittee, HSPC, ACSM, 2012-2015
      Iowa Medical Society Leadership Development Committee, 2022
      Member of Sports Medicine Subcommittee for the Iowa State Medical Society, 2007-present
            o Iowa designate to National Youth Sports Safety Summit
                        New York City – 2015
                        Indianapolis – 2016
                        Kansas City – 2017
      AMSSM designate for the American Academy of Orthopaedic Surgeons’ Knee Osteoarthritis Quality
       Measure review committee, 2014-2016
      Associate Editor, Current Reviews in Musculoskeletal Medicine, 2006-2010.
      Fellow, American College of Sports Medicine: Designated in 2004



SPECIAL QUALIFICATIONS:

      Prior legal consulting work in cases with both local and national reach
      Extensive training in office musculoskeletal injury
      Oversight of treadmill stress testing/metabolic stress testing
      Independent consultation regarding establishment of individual exercise programs consistent with revised
       ACSM guidelines
      Proficient at evaluation/management of bone mineral density problems at all ages

      Qualified procedurally for:
                       Ultrasound diagnostic testing and guided injections
                       Joint injection/aspiration
                       Percutaneous tenotomy (TENEX)
                       Rotator cuff barbotage
                       Lactate/Anaerobic threshold, VO2 MAX/ exercise testing
                       Laryngoscopy for vocal cord assessment
                       Compartment pressure assessment
                       Ultrasound-guided nerve blocks
      Extensive experience speaking to large national groups on issues pertaining to sports medicine, including,
       but not limited to:
            o Overuse Injury
            o Head and Neck Injuries on the Field
            o Exercise-Induced Asthma
            o The Shoulder Exam
            o Principles of Exercise Prescription
            o Traumatic Brain Injury in Sport
            o The Knee Exam
            o The Ankle Exam
            o The Hip Exam
            o The Pre-Participation Exam
            o Cardiopulmonary Exercise Testing for Determination of Training Zone Estimates and to Identify
                 Causes of Exercise-Related Dyspnea
            o Athletic Amenorrhea
            o Advocacy in Sports Medicine
            o Medical Practice Economics




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PUBLICATIONS/RESEARCH:


      Sports Medicine CAQ Study Guide, Healthy Learning, Monterey, CA. 2021.[editor].
      AXIAL BACK PAIN IN THE ATHLETE: PATHOPHYSIOLOGY AND APPROACH TO REHABILITATION.
       Curr Rev Musculoskel Med. 2009 (2):88-93
      SPONDYLOLYSIS AND THE ATHLETE. Athletic Ther Today. 2007 (12)4:37-39.
      THE NATURAL HISTORY AND MANAGEMENT OF HAMSTRING INJURIES. Curr Rev Musculoskel Med
       2008 (1):120-128.
      A SURVEY OF STATE MEDICAL LICENSING BOARDS: CAN THE TRAVELING TEAM PHYSICIAN
       PRACTICE IN YOUR STATE? BJSM. 2013. Jan (47)1:60-62.
      SEXUAL VIOLENCE IN SPORT: AMERICAN MEDICAL SOCIETY FOR SPORTS MEDICINE POSITION
       STATEMENT
             o Curr Sports Med Reports June 2020;19(6):232-4.
             o Clin J Sports Med June 8 2020;
             o Br J Sports Med 2020;0:1-3
      “ACUTE SUBDURAL HEMATOMA IN A HIGH SCHOOL FOOTBALL PLAYER,”
       J Athl Training, 38;2(63), 2003
      Traveling with Medication. NCAA Sports Science Institute Bulletin, 2015 http://www.ncaa.org/sport-science-
       institute/traveling-medication
      THE RELATIONSHIP OF EXCESSIVE WEIGHT LOSS TO PERFORMANCE IN HIGH SCHOOL
       WRESTLERS – A PILOT STUDY; presented at the AMSSM national meeting, San Diego, CA, 2000
        Clinical Journal of Sport Medicine 10(4):310, October, 2000




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